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                         EXHIBIT 6
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              IN THE UNITED STATES DISTRICT COURT FOR
                 THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

                                             )
 DONNA CURLING, et al.                       )
                                             )
 Plaintiff,                                  )
                                             )   CIVIL ACTION FILE
 vs.                                         )   NO.: 1:17-cv-2989-AT
                                             )
 BRAD RAFFENSPERGER, et al.                  )
                                             )
 Defendant.                                  )
                                             )
                                             )

        SUPPLEMENTAL DECLARATION OF MARILYN MARKS

         I, MARILYN MARKS, hereby declare under penalty of perjury,

pursuant to 28 U.S.C. § 1746, that the following is true and correct:


1. I have personal knowledge of all facts stated in this declaration and, if

   called to testify, I could and would testify competently thereto.

2. I am the Executive Director of Plaintiff Coalition for Good Governance.

3. Under my supervision, Coalition for Good Governance interns,

   volunteers, and I have collected scores of public records from Georgia

   county election officials regarding the implementation of the Dominion

   Voting System and have made personal observations of the deployment

   and testing of such systems in numerous counties. The information

   presented here is a small but representative sample of the open records



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   documentation we have collected regarding voting system equipment

   delivery and ballot secrecy issues.

4. Attached hereto as Exhibit A is a December 30, 2019, email from State

   Election Director Chris Harvey to county election directors, stating that

   he had no delivery estimates on delivery expections on the voting

   system’s EMS software. It is a true and correct copy received in

   Coalition for Good Governance’s open records request.

5. Attached hereto as Exhibit B-1 are notes of a January 10, 2020,

   conference call among county election officials and the Secretary of

   State’s office. Also attached hereto as Exhibit B-2 and B-3 are notes

   prepared by the Secretary of State’s office summarizing an October 10,

   2019 phone call with county officials. I obtained these in response to an

   open records request I made to Jennifer Doran, Morgan County Elections

   Director seeking information on documents in her possession regarding

   the statewide schedule of voting equipment deliveries. They are true and

   correct copies of the records Coalition for Good Governance received.

6. Coalition for Good Governance filed a Help America Vote Act complaint

   on December 30, 2019 with the Secretary of State concerning the BMD

   screens and the failure to permit voters to review and change their ballots




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   in private. A true and correct copy including pictures of the ballot screens

   is attached at Exhibit C.

7. Attached hereto as Exhibit D is a picture of the a Cartersville polling

   place copied from the Atlanta Journal Constitution article

   https://www.ajc.com/news/state--regional-govt--politics/few-voters-

   check-printed-ballots-like-those-georgia-study-

   shows/v5ho6TVFcMzHPC5nhJymBM/. It depicts the visibility of the

   screens while voters are voting and the public, poll workers and other

   voters are in the polling place, as I observed in this Cartersville location

   on November 5, 2019. I observed the same condition in numerous other

   voting locations where, as an observer, I could determine how voters

   across the room were voting. The image is a true and correct copy of the

   image I downloaded.

8. Attached hereto as Exhibit E is a true and correct copy obtained in a

   public records request of an email exchange that includes State Board of

   Election members Sullivan and Worley and Ryan Germany of the

   Secretary of State’s office discussing passing an Election Rule to create a

   new formula for the minimum number of polling place BMDs . The

   email exchange preceded the December 17 Board meeting when the Rule

   under discussion passed unanimously.



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9. Attached hereto as Exhibit F is a compilation of excerpts from press

   reports and county officials’ public records obtained by Coalition for

   Good Governance related to the implementation of the voting system.

   The excerpts are true and correct copies of the excerpted information

   contained in the press reports and records.

 Executed on this date, January 16, 2020.



                                             Marilyn Marks




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                         EXHIBIT A
                Case 1:17-cv-02989-AT Document 699-6 Filed 01/16/20 Page 7 of 37


Jennifer Doran

From:                             Jennifer Stone <jstone@oconee.ga.us>
Sent:                             Monday, December 30, 2019 10:14 AM
To:                               Charlotte Sosebee; Tracy Dean; aphagan@co.banks.ga.us;
                                  bkilgore@greenecountyga.gov; Steve McCannon; 'Monica Franklin';
                                  lcash@barrow.ga.org; glk@franklincountyga.gov; Fran Leathers;
                                  egober@stephenscountyga.com; chgh@hartcom.net; Jennifer E. Logan;
                                  sgregg@co.walton.ga.us; jphipps@co.walton.ga.us; 'Lavenda Bolton'; 'Melissa Shead';
                                  ecprobate@hotmail.com; beckyblackmon@wilkescountyga.org; rtclem@aol.com;
                                  amantle@co.newton.ga.us; adavis@co.newton.ga.us; Beverly Nation; Jennifer Doran;
                                  'Robin Webb'; ckathleen@greenecountyga.gov
Subject:                          RE: Regional Meeting


FYI… See below email I sent to Chris and his response.

Jennifer,
All of that equipment you asked about is coming soon, but I don’t have specific dates for any of it.
The Dominion Techs will be in-county by mid-late February in time to assist with L&A and other matters.

Chris Harvey
Elections Director
Georgia Secretary of State

Main 470-312-2777
Cell 404-985-6351


Good morning Chris,

I hope you had a great Christmas first of all… I have a few questions about our new equipment. We have received all
except for the UPS’s, the extra BMD’s, the privacy screens, EMS system, the Central Scanner or the Mobile Ballot
Printer. When are these expected? We will also need some extra poll pads and need to know who we need to contact
to make that happen. Also, when will we receive our cases for the equipment? We haven’t unpacked it from the boxes
just yet, because we need to have the cases to be able to store it properly. Another question…when will we receive our
Dominion person that will be with us for the year? We either will need them or instructions to conduct L&A. Please
advise. Thanks!

Regards,
Jennifer Stone
Assistant Director
Oconee County Board of Elections & Registration
OFC: 706.769.3958
FAX: 706-310-3486




From: Charlotte Sosebee <Charlotte.Sosebee@accgov.com>
Sent: Thursday, December 19, 2019 1:49 PM
                                                           1
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                         EXHIBIT B -1
         Case 1:17-cv-02989-AT Document 699-6 Filed 01/16/20 Page 9 of 37



Conference call 01-10-2020

Chris Harvey:
-Poll worker training manual – ready next Tuesday
        -not intended to be primary training – need to reference QRGs

SEB rules
        -4 proposed rules
        -assumed they’ll be adopted
        -no hand counting of ballots barring any unusual circumstances
        -if voter leaves polling place with ballot, ballot is spoiled, and voter does not get a chance to
        vote again

Regional Training
       -EMS/L&A training – very technical

Tablets/scanners will be provided for the EasyVote Inventory System – shipping out next week

Voter Education Team – 8-9 people to give presentations to public

Mobile ballot printers – Chris recommends PPP ballots from printer with time crunch

Gabe Sterling:
-1/2 counties are picked up or scheduled to pick up

-Intent: everything done by mid-February

-EMS – by February 1st

-Central scanners are all in the warehouse now, so EMS acceptance testing can start

-As of today, 75 counties have gotten equipment or scheduled to get it.
         -The rest over the next 10 days

-Lost 3-4 weeks at the beginning when Judge said they have to keep all old equipment, not just some.

Questions:
-No need to count ballots

-Ballots found unaccompanied – SPOILED

-If zero tape is torn? – Zero tape should be put away

-Rolling bags and cases for BMDs and printers – state has received but not all of them
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-Working on full delivery of EMS and bags

-Forms: currently at printer – posted next week

-Ballot paper for ABM, provisional, and emergency ballot paper – use standard paper you get from your
printer.

-Only BMD paper will be security paper

-Blackout screens – allowable?
        -They are experimenting with them
        -Questions re certification
        -Hold off on that for now

Dominion tech assigned to county – one in each county by the end of this month
       -Email to follow with contact information for tech

Spoiling procedure – write “spoiled” on it and there’s a log to document it

Paper voter certificates on election? No, but you need a supply in case poll pads aren’t working and for
provisional.
        -Paper elector list as backup to poll pads

Printer for EMS – provided by state

Ballots brought to election office at end of election day (along with PPS memory card)

UPS are coming after EMS packet

If additional equipment is needed, send email to Gabe with explanation for request
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Question: If all of the equipment is maintaining a count, what is the purpose of hand counting ballots?


Answer: Counting the ballots that are removed from the scanners will verify that all ballots scanned and
unscanned are brought from the polling place and provide an audit trail.

Question: Do we have any info on ballot bags to fit inside of precinct scanner?


Answer: As Chris has mentioned many times, there are a lot of products being developed by election
equipment companies. Those type of bags/containers have been mentioned. If your county is interested
in that type of bag/container, I am sure you will have options to choose from.


Question: Will ballots be available in spanish?


Answer: Spanish is not required in Georgia except for Gwinnett County. The system does comply with
those requirements for Gwinnett.

Question: Will the State be providing brochures or videos for public awareness purposes.

Answer: A team is being developed to provide public information. As those materials are developed and
in person events planned, we hope to have as much available as possible.

 Question: Is there a "final" date when we can expect to have all our equipment and
 he said techs would be available middle of February, but we start mailing ballots on Feb. 4.
 Doesn't L&A have to be done at least on some of the equipment before mailing ballots?

 Answer: All counties should have all equipment by January 15th at the latest. We will be working
 with Dominion to provide technicians for the PPP which will begin at the end of January.

 Question: Have times been set for the training classes?

 Answer: Training started on October 1st. The schedule was posted to Firefly > Training > Dominion
 Voting System.
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                         EXHIBIT B -3
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                        QUESTIONS AND ANSWERS FROM REGION CALLS ON OCTOBER 30, 2019

         QUESTIONS:                                         ANSWERS:
          Can Dominion provide us a price sheet for          Dominion won’t provide extra carts. Any
          booths, carts, and additional equipment?           questions about Dominion equipment contact
                                                             Scott Tucker.
          Can the text on the printed ballot form generated No.
          by the BMD be enlarged?
          Will there be new forms?                           Yes, pilot counties are helping and we will go over
                                                             this at the conference.
          What is the schedule for this election's           The code is the second Friday after the election.
          certification and when will we have to deliver to  We will set up pick up after we know when
          GSP?                                               everyone is certifying.
          some of the DREs are Diebold, Preimer, and ESS - Serial numbers only needed not manufacturer.
          do we need to identify which or can we just list
          Diebold on everything?
          Can we keep equipment                              Yes, but you will have to destroy them and pay
CGG !!                                                       for that on your own. We are willing to take the
                                                             equipment and destroy it for free.
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                         EXHIBIT C
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Complaint under Help America Vote Act and Ga. Election Rule 590-8-2-.01

Administrative   Complaint for Violation of Title Ill of the Help American Vote Act of 2002

Complainant:     Coalition for Good Governance

Date: December 22, 2019

Violation of Voter Privacy

Section 301 (a) (1 )(A) and (C) of the Help America Vote Act provides for the protection
of ballot secrecy and voter privacy as follows:

        "(A) Except as provided in subparagraph (BJ, the voting system (including any lever voting
       system, optical scanning voting system , or direct recording electronic system) shall-
       (i) permit the voter to verify (in a--privateand independent manner) the votes selected by the voter
       on the ballot before the ballot is cast and counted;
       (ii) provide the voter with the opportunity (in a private and independent manner) to change the
       ballot or correct any error before the ballot is cast and counted (including the opportunity to
       correct the error through the issuance of a replacement ballot if the voter was otherwise unable
       to change the ballot or correct any error);"

       (CJ The voting system shall ensure that any notification required under this paragraph preserves
       the privacy of the voter and the corifidentiality of the ballot.


The Dominion BMD voting screens are large, brightly back-lit, with large fonts with highlighted
large bars that depict voter choices, when the target area is pressed by the voter. Given the
upright positioning of the BMD video screen in the voting station, voters' choices can frequently
be seen by numerous people in the polling place. Several members of Coalition for Good
Governance have witnessed this privacy violation scores of times during the November 5 and
December 3 pilot elections. Pollworkers can frequently see the voter choices . Other voters in
the polling place, and pollwatchers and public observers can see the voters' choices.

If a voter attempts to review and correct her choices on the BMD screens, the specific
provisions of HAVA are violated. If the voter is seated at an accessible voting station, the screen
is even more visible to those in the polling place as the line of sight to the screen is not
obstructed by the voter's body.

There appears to be no reasonable way to protect the screens in a manner that permits only the
voter to see the voter's choices and corrections of selections. Any changes to the physical
apparatus would likely require EAC certification. Although this was observed as a serious
problem in all six pilot elections, beginning during early voting, it was not resolved during the
three weeks of early voting or in the month before the December 3 runoffs. This further
suggests that election officials have no reasonable solution.

The Georgia BMD screens violate the HAVA protections of privacy because voters cannot
review their voting choices privately and "confidentially." The deployment of the BMD screens
will violate virtually all in-person voters' rights to the privacy protections afforded by HAVA.
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Exhibits A-G are pictures taken with permission of officials in Georgia polling places or at
demonstrations. These pictures demonstrate the screen size, brightness and the selection bar
that is highlighted when the voter makes the selection, and the distances at which the screens
can be seen .

Coalition for Good Governance ("CGG") files this complaint because of its interest in the
protection of voter privacy and ballot secrecy for its Georgia-based members and all Georgia
voters.

In accordance with Rule 590-8-2-.01(4), CGG requests a prompt hearing in a public meeting on
the record.

Contact Information:
Marilyn Marks
Executive Director, Coalition for Good Governance
Marilyn@USCGG.org
704 292 9802
c/o Board Secretary
1520 Cress Court
Boulder, CO 80304


I, Marilyn Marks, Executive Director of Coalition for Good Governance, personally
appeared before the undersigned notary public, authorized to administer oaths, and
state under oath that all facts alleged in this HAVA Complaint are true and correct.

Dated   l:z/~#7'
             '

~
Marilyn Marks

Sworn to (or affirmed) and subscribed before me this         J)     day of     {)ecc ,..,,be;,-
20_.!_J_.


   V·
Notary Public
                222     ~
My Commission Expires: __   o_S_~___,_-~_
                                /.    .=.,.2...d_~.__
                                                  ________                   (Notary Seal)


                                                                   Q'Hagi M. McGriff
                                                                     Notary Public
                                                                  Mecklenburg County
                                                                     North Carolina
                                                             M~ Commission Expiresc.,.if 0==..-,
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                         EXHIBIT D
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                         EXHIBIT E
                   Case 1:17-cv-02989-AT Document 699-6 Filed 01/16/20 Page 21 of 37


Jeanne Dufort

From:                                    Germany, Ryan
Sent:                                    Friday, December 13, 2019 5:39 PM
To:                                      'David Worley'; Rayburn, Kevin; Harvey, Chris; Lynn Bailey; Sullivan, Rebecca
Subject:                                 RE: Minimum Number of Machines Regulation


You are correct that it reaches some ridiculous results for Fulton. Keep in mind that most counties (probably 130 or so)
only have one early voting location. This is to calculate a floor, not a recommended amount. If we don’t take into
account early voting (where half of people vote) in some way, some counties are not going to be able to meet the
minimum. Certainly open to suggestions, but I think we need to take into account early voting in some form or fashion.

--
C. Ryan Germany
Georgia Secretary of State
Direct: 470-312-2808
Cell: 678-672-9230
rgermany@sos.ga.gov




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immediately by e-mail and delete all copies of the message.



From: David Worley [mailto:David@ewlawllc.com]
Sent: Friday, December 13, 2019 5:32 PM
To: Germany, Ryan <rgermany@sos.ga.gov>; Rayburn, Kevin <krayburn@sos.ga.gov>; Harvey, Chris
<wharvey@sos.ga.gov>; Lynn Bailey <LBailey@augustaga.gov>; Sullivan, Rebecca <Rebecca.Sullivan@doas.ga.gov>
Subject: RE: Minimum Number of Machines Regulation

EXTERNAL EMAIL: Do not click any links or open any attachments unless you trust the sender and know the
content is safe.
I certainly understand the concept, Ryan, but I was trying to explore the way it would actually work in practice.

Let’s say Fulton has 25 early voting locations, and each early voting location has three BMDs, for a total of 75.

Then imagine a precinct with 2500 voters. As I understand the statute, (without adding early voting sites) it would have
to have 10 BMDs.

But if you add the early voting locations to the total, the precinct could meet the minimum the statute requires (in fact,
exceed it greatly) by having only one BMD (75 plus 1 equals 76, and 76 times 250 is 19,000, far more (7.6 times more)
than 2500 voters in the precinct). So under our new rule and this example Fulton is meeting the statutory minimum, but
surely this is not the intent of the statute.


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[Even if there is only 1 BMD at each of the 25 early voting locations, Fulton can still do this: 25 plus 1 equals 26, and 26
times 250 is 6500].

Maybe I am missing something entirely, but that was my concern

Dave

From: Germany, Ryan <rgermany@sos.ga.gov>
Sent: Friday, December 13, 2019 5:19 PM
To: David Worley <David@ewlawllc.com>; Rayburn, Kevin <krayburn@sos.ga.gov>; Harvey, Chris
<wharvey@sos.ga.gov>; Lynn Bailey <LBailey@augustaga.gov>; Sullivan, Rebecca <Rebecca.Sullivan@doas.ga.gov>
Subject: RE: Minimum Number of Machines Regulation

David,

That is correct. We are saying that all of the early voting machines deployed on the last day in Fulton (or any other
county) would be added to each precinct count. The thought process is that because voters can vote in any early voting
location, every machine deployed during early voting is available to them. I think this will incentivize more early voting
locations and hopefully more early voting locations that will also be used as election day polling places (which I think will
make election day setup easier on counties).

We want to make sure that counties are deploying at least the same amount of machines that they have in the past,
which this rule will require, plus more to account for what everyone believes will be a big turnout election next year. But
we need to keep in mind space and electricity constraints as well as the reality that finding new polling places is not an
easy process (especially with schools trying to get out of the polling place business in many counties).

Thanks,
Ryan

--
C. Ryan Germany
Georgia Secretary of State
Direct: 470-312-2808
Cell: 678-672-9230
rgermany@sos.ga.gov




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immediately by e-mail and delete all copies of the message.



From: David Worley [mailto:David@ewlawllc.com]
Sent: Friday, December 13, 2019 5:11 PM
To: Germany, Ryan <rgermany@sos.ga.gov>; Rayburn, Kevin <krayburn@sos.ga.gov>; Harvey, Chris
<wharvey@sos.ga.gov>; Lynn Bailey <LBailey@augustaga.gov>; Sullivan, Rebecca <Rebecca.Sullivan@doas.ga.gov>
Subject: Minimum Number of Machines Regulation

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 content is safe.
All,

Driving back this afternoon I started to think more about the minimum number of voting booths regulation we discussed
today.

I am now wondering how this regulation would work with polling places that have more than one precinct.

More importantly, I have tried to figure out how this regulation would work in the case of the large counties like Fulton
or Dekalb. If Fulton has 25 early voting locations, and each location has multiple BMDs, are we saying that all of those
should be added to the number of BMDs in any one precinct to meet the minimum standard. I am no math whiz, but I
am thinking maybe we need to review this more.

Thanks to everyone for all their hard work on this, and coming together on such a cold and rainy day.

Best,

Dave




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QUOTES:

“On another note, I have been thinking (worrying) about Poll Worker Training...Maybe, just
maybe, we will hear very soon the intentions on L&A?!?! Some days I am in a panic mode, today,
I am just looking forward to visiting my new grandson again in Ohio for the weekend.” --Robin S.
Webb, Hart County (1/7/2020, page 204-205)


"We have not had the new equipment delivered either and I’m getting a little worried.....”--
Sharon Gregg, Assistant Director of Elections Walton County (1/8/2020, page 130)


“Out of concern for time, I took the current 2018 version of the poll worker training online and
used the information I could that was still current. Then, I am having to take the new information
from HB 316 and add to it. I am leaving empty space for the instructions on the Dominion
equipment. It is lot of work, but I am starting poll worker training soon. If I get the presentation
completed before the state updates theirs, I will be glad to share with all.”--Janet Olivia, Towns
County Board of Elections & Registration (1/07/2020, page 7)


"No word on new equipment! I am extremely nervous and not sure how we are going to get all
of this done prior to the PPP.”-- Tracy Dean, Chairperson, Madison County Board of Election and
Registration (1/8/2020, Page 132)


“Do we have ANY idea when we will receive our new voting equipment or the old equipment be
picked up?” --Misty Hampton, Coffee County (1/07/2020, page 2)


“Does anyone out there have ANYTHING for poll worker training." --Cindy Reynolds, Bryan
County (1/06/2020, page 8)


“Chris, Is there a date for delivery for the EMS, Central Scanner, and ballot printer? Thank you,” -
-Jennifer Doran, Morgan County (1/07/2020, page 33) “Not Yet”--Chris Harvey, Elections
Director (1/07/2020, page 33)


“Is there an updated version [poll book training manual]? The one on the SOS website is for
2018. If so, can I get this information also? We will be having the special election starting next
week.”--April Graham, Wilcox County (1/06/2020, page 24)
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"...I don't have enough equipment or supplies to start [training]."-- Patsy Cannon Johnson,
Macon County, (1/06/2020, page 29)


"We haven’t our polling place inspections nor have we been contacted about it. The timeline is
getting a little short to be making changes if the inspections require it. ”--Jennifer Doran, Morgan
County (1/8/2020, page 167)

“No. Leigh says the manual should be completed near the end of this momth.”--Johnny Harris,
Fulton County (1/09/2020, page 18) **Referring to Leigh Combs, SOS Elections Liaison

“Also, I know that all of these changes are beginning to come at us very fast, but I wanted to
check with you all and see if anyone has a suggestion on a date that we can have another
regional meeting. Perhaps sometime in January, I know I am planning on bringing my bed or
recliner to the office the first of February because I think that’s where I will be most of the
time?”--Tracy Dean, Madison County (1/3/2020, page 188)

“Has anyone been able to load a demo election to the poll pad for Poll Worker Training? Or what
is your plan for training? Is there a link or a point of contact?”--Brande Coggins, Polk County
(1/07/2020, page 4)

“’Do you know when the additional training will take place?’[--Jennifer Doran, Morgan
County][...]
‘No ma’am I sure wish I did’”--Tracy Dean, Madison County (1/6/2020, page 184)


   1. Document Attached: “ORRs”


Counties Stated Concerns with Rollout of New Voting System to Press

Glynn County Elections Supervisor “A Whole Lot of Issues Are Starting to Come Into Focus.” “The
voter can then review their ballot before running it through a scanner. Their vote is not counted
until it goes through the scanner and falls into the ballot box below. “There’s just a whole lot of
issues that are starting to come into focus,” [Elections and Registration Supervisor Chris]
Channell said. “Paper cost and toner and that kind of thing,” Gibson added. (The Brunswick
News, 1/13/2020)

       Glynn County Concerned About Appropriate Number of “Emergency Ballots” “Also, if a
       polling place loses power and runs out of backup power, the board must keep an
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       “adequate” number of hand-marked paper ballots on hand and a secure means of
       transporting more unmarked paper ballots to the polling places. “How much is an
       adequate number of emergency ballots?” Channell said. “There’s just a lot of procedures
       that have to be determined and how we’re going to deal with it from our office.” (The
       Brunswick News, 1/13/2020)

       Glynn County Concerned with Machine Delivery Timeline. “I feel very fortunate that we
       are now on the list,” Channell said. “With only two machines, it’s very hard to do poll
       worker training,” Gibson said. “You want all of them to have a hands-on, but two
       machines limits how much hands-on time they get.” (The Brunswick News, 1/13/2020)

       Glynn County: “We Have Absolutely No Idea When That’s Going to Be Picked Up.”
       “We’ve still got a whole room full of our old equipment in the back, and we have
       absolutely no idea when that’s going to be picked up,” Channell said. In the meantime,
       the board will store its old election machines elsewhere, but under a comparable level of
       security, he said.” (The Brunswick News, 1/13/2020)

Fulton County Forced To Buy Additional Poll Books & Scanners, Were Provided Fewer Poll Books
than Cobb “(5:05min) Rick Barron: "We have enough ballot marking devices and printers, I think
where we have a shortage is in our pollbooks…The other thing that we’ll need is some more
precinct scanners. But I’ve received a lot of support from the board of commissioners of Fulton
county and they’ve given me money so that I can go out and make another purchase. Scott: So
you all are responsible for that? Barron: “Yes, if we need more equipment, we’re going to have
to purchase those…It’s just that the quantity that we were given was less than what Cobb County
was given, so we do need more.” (WABE Interview, 1/09/2020)



       Fulton County Elections Director Concerned Pollworker Training Must Be Delayed
       Because No Pollworker Manual Has Been Produced by the SOS. “(6:30min) Rick Barron:
       “We’re waiting for the pollworker manual to be produced by the SOS’s office so we’ve
       had to push back our training schedule somewhat…a little over a week” (12:00min) Scott:
       As of right now, Have you all started training staff? Barron: “We’re unable to because we
       don’t have a pollworker manual. We’re waiting on the SOS for that.” Scott: But the
       primary is in March! Barron: “You are right, and we just…were told…two days ago, that
       we would get that poll worker manual by the end of the month…We had actually planned
       on starting train the trainer on 1/22, we’ve had to push that back to the beginning of
       February.” (WABE Interview, 1/09/2020)
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       WABE Reporter Rose Scott, Concerned By Fulton County Elections Director’s Answers.
       “(16:35min) Scott: Ok wait a minute…[laughs]…You don’t have the server, you have some
       of your machines, you don’t have the server, the old servers are operating on Windows
       2000—This is 2020, we have a primary coming up in March, you don’t have your poll
       manuals--- Barron: “Currently we have not received any of our new voting machines
       yet…we’ve got 4 desk ones.” Scott: So you don’t even have machines?” (WABE Interview,
       1/09/2020)

Morgan County Election Officials Concerned with Full Delivery Timeline, Training Schedule &
Capacity with New Voting Machines: “In all, the county received 72 touchscreen tablets and 72
printers…All the equipment must be evaluated and tested before the public uses the new voting
machines to cast ballots in the March 24 Presidential Primary election. However, the county
cannot conduct testing on the new equipment until the state delivers a server, central scanner
ballot printer. “I am hopeful we will be ready,” said Doran. (morgancountycitizen.com,
1/03/2020)

       “The state has promised we will have everything we need in time.” Doran noted that
       since the new voting machines have more steps, the testing period will take much longer.
       “We have double the equipment now, so that will double our testing time,” said Doran.
       Doran and the Morgan County Board of Elections and Registration are also looking for a
       new location at which to hold early voting. “Space has been an issue for awhile, but now
       with the new equipment it’s more of an issue,” said Doran. “It’s cramped and requires
       more space for storage. We are hoping there are some options that will open up to us in
       the coming year to make voting easier for all voters.” (morgancountycitizen.com,
       1/03/2020)

Bulloch County Concerned with Training and Timeline of New Machines "It's no longer one
machine," said Bulloch County Election Supervisor Patricia Lanier Jones. "It's now a screen and a
printer and a ballot box, or I should say the correct name is a polling place scanner."… Jones had
received no word yet from the state or its equipment manufacturer on when the rest of the
machines will be delivered. The old machines are supposed to be collected first, she said, and
that hasn't happened yet. (Statesboroherald.com, “So Far, Just 2 New Voting Machines”,
1/3/2020)

       Bulluch County Concerned Polling Locations May Not Be Adequate for New Machines.
       “Each county is supposed to be assigned a Dominion representative to work with local
       elections officials through this first year. Jones had not received any word about the
       scheduling of the representative's first visit, or of a visit by someone assigned by the
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       Georgia Secretary of State's Office to check that the electrical wiring of each precinct is
       sufficient for the new equipment. She said she had hoped to pair that with a series of
       visits of her own to check for furniture needs in the precincts, but will probably go ahead
       with those visits soon on her own. "I'm going to have to," Jones said. "I've been waiting
       on them and they haven't got here yet." (Statesboroherald.com, 1/3/2020)

Forsyth County Officials Concerned w/ HB316 Requirements and Electrical Requirements for
New Voting Machines. “Matthew Blender, a Democratic member of the board, said he was also
concerned with whether the electrical infrastructure of most polling places would be able to
handle multiple machines, along with ballot markers and printers. “I dare say in this county we
would have a difficult time finding almost any of the facilities that we would use that would meet
that one [machine] for every 250 voters; the space doesn’t exist, and the power doesn’t exist,”
he said. ...“I was aware of the issue regarding election day allocation,” Jones said. “I wasn’t
aware of the issue on the electric; I’ll make sure that [comment] gets in.”(Forsythnews.com
,12/3/2019)

Coweta County Election Officials Concerned with Security, Storage, Capacity, and Training for
New Voting Machines (Newnan Times-Herald, “County Officials Still Have Questions About New
Voting Equipment, 11/12/2019)

Fulton County Elections Director Said County Was Anxious To Receive Voting Machines So That
Poll Worker Training & Equipment Testing Could Begin. “Now that Georgia has selected
Dominion, many areas across Georgia, such as Fulton County, are anxious to receive their new
voting machines, Fulton Elections Director Richard Barron said. Poll worker training and
equipment testing can’t be done until then. In addition, the State Election Board hasn’t yet
approved rules and procedures for how to conduct elections with the new voting machines.
Voting machines likely won’t arrive until after this fall’s local elections and potential runoffs, he
said. “The timeline is somewhat crunched, but we’ll get it done,” Barron said. “We may have to
put in some long hours to make it happen.” (AJC, 11/01/2019)

Glynn County Election Officials Concerned with Delivery Timeline, Training, Storage & Electrical
Needs and Additional Costs of New Equipment. “Board members wondered where they would
be able to put all this new stuff. “We’re going to need a bigger boat,” said board member Keith
Rustin “No, we need a ship,” Channell responded. Another aspect of the switch is the need to
contend with is a public education campaign, Featherstone reminded her fellow board members.
With only one machine and not much confidence they’ll get the rest in a timely manner,
chairwoman Patricia Gibson said the board should go ahead and begin doing what it can.
(TheBrunswicknews.com, 10/9/2019)
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Cobb Democrats Concerned with Precinct Changes Partly Caused by Machines. “I understand
why it was done, I’m glad Janine Eveler was there to explain all of the reasoning,” she said. The
new voting machines the state is installing “take up so much more room and require so much
more electricity, frankly, than the previous system that the needs are much greater, and I don’t
think all of the counties were able to anticipate that until quite late in the process.” (MDJ,
1/14/2020)
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The Secretary of State is Deploying 200 Fewer Staff to Overhaul Voting System, Even Though
Timeline Substantially Compressed.

July 29th SOS Statement: Contract not signed until July 29th
“(ATLANTA) -- After a competitive selection process, Secretary of State Brad Raffensperger
selects Dominion Voting Systems to implement its new verified paper ballot system.
Implementation of the new secure voting system will start immediately and be in place and fully
operational for the March 24, 2020 Presidential Preference Primary.” (SOS, 7/29/2019)

Dominion Warned SOS Original March 31st Timeline Was Not Fast Enough for March Elections.
 “If the intent is to use the new system statewide for the March PPP election, we must mitigate
the risk of an unsuccessful experience by delivering and training ahead of the published
schedule. If delivery dates per the statement “Completion of Phase 2 – Part 2 will be completed
prior to the end of the first quarter of 2020 (March 31, 2020)” represents the GASOS intent, the
March PPP will not be ready for a statewide roll out and use of the new system in March 2020.
The SAFE Commission made it clear a statewide usage of the new system will be ready to use in
the March PPP election. Dominion is committed to make that a reality by adopting an aggressive
Implementation Plan and Training schedule.” (Dominion Response Document 12-5)

Dominion Plans to Deploy 200 Fewer Implementation Staff than 2002
“The major differences and the reason the number of staff personnel is reduced from
approximately 550 to 350 is due to the fact the state has a statewide management infrastructure
in place and the counties are used to a statewide touch screen type voter experience. In 2002,
the State had a multitude of different voting systems in place including hand marked paper
ballots, punch card systems, early optical scan systems, lever machines and direct-recording
electronics (DRE’s). Everyone from the state to the counties had to be trained on a new way of
voting and managing the process.” (Dominion Response Document 12-1 PM)1

Colorado SOS Office: “What Georgia is Trying to Do Basically Blows My Mind. “The swift
transition to new voting equipment has raised eyebrows far from Georgia. “What Georgia is
trying to do basically blows my mind,” said Dwight Shellman, an election official at the Colorado
secretary of state’s office. His state adopted a Dominion system in 2016.“We had 2 1/2 years to
do it, and it was challenging,” Shellman said. “I can’t imagine implementing the number of
counties Georgia has in, what, two months? Three months?” (AJC, 11/01/2019)

   1. RFP documents can be found at https://sos.ga.gov/securevoting/


The Secretary of State Remains Behind Schedule on Delivering Voting Equipment to Counties
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   -    Background: The original RFP sent out by the SOS asked counties to submit a proposal for
        a voting system to be in place by the end of the 1st quarter of 2020. The RFP asked for the
        vendor to submit a deployment schedule to be in the following phases: Phase 1 (Pilot
        counties), Phase 2: Part 1 (1st half of counties), Phase 2: Part 2 (2nd half of counties)

           o Dominion tried several times in their RFP responses to politely/gently explain to
             the SOS that the March primaries were scheduled prior to the end of the 1st
             quarter, and therefore the SOS needed to 1) adjust their timeline up significantly
             to Dec 31st, Jan 15 at the latest (although one schedule has Jan 17th?) and 2) not
             split Phase 2 for any reason.

           o It seemed to take a while for the SOS to realize their mistake. In fact, in the
             publicly available scoresheet, one of the evaluators wrote that Dominion was not
             prepared to deliver the machines by the SOS’s deadline of the end of the first
             quarter. When in fact, what Dominion was trying to get across was that GA would
             not prepared for the PPP if the adhered to the SOS deadlines and phases in the
             RFP.

           o Below, I’ve listed a short overview of the timelines listed in the RFP, stated by the
             SOS office in the press, and stated by Brad Raffensperger himself in the press.
             After that, I’ve listed the relevant bullets related to the timeline in full.



Documented Timeline Slippage for Machine Delivery to Counties:

   1.  ”Dec 31, 2019, if not earlier”--Dominion, (Response Document-12-1)
   2.  “End of December”--Dominion, (Response Document, Supplemental, page 42)
   3.  “End of 2019 or no later than January 15”--Dominion, (Response Document, 12-6)
   4.  “January 15th at the latest”--Secretary of State, (Q&A transcript from regional calls,
       10/10/2019)
   5. “January 17th”—Dominion Master Schedule
   6. “Mid-January”--Secretary of State, (GBP, 11/06/2019)
   7. “End of January”--Secretary of State, (GBP, 11/15/2019)
   8. “Late January”--Secretary of State, (AJC, 11/18/2019)
   9. ”Early February”--Secretary of State, (AP, 12/11/2019)
   10. “February 8th” --Secretary of State, (11alive, 12/30/2019)
   11. “Mid-February”—Secretary of State, (Q&A summary from Morgan County Election
       Supervisor, 1/10/2020)
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All Response Documents Located at https://sos.ga.gov/securevoting/ > Award Information >
Dominion Response to Request for Proposal

Relevant Bullets Related to Timeline:

Dominion Planned for Distribution of All Equipment to Counties to Begin “Immediately
Following” November 2019 Elections. “Distribution of all voting system products to the
respective Counties. Immediately following the completion of the November 2019 election, the
physical delivery to the counties will begin for all items that have completed the State’s
acceptance testing procedures. Based on the monthly Acceptance testing methodology, counties
will be identified by region to receive their new systems while following the State’s defined
schedules and quantities. The logistical nature of the plan will be formulated to address the
capabilities of the counties to receive products. Perhaps some counties will be ready to receive
the quantities included on Phase 2 – Part 1, and Phase 2 – Part 2, combined.” (Dominion
Response Document 12-1)

Dominion Says Goal is for Machines to Be Delivered by December 31, 2019, “If Not Earlier” To
“Avoid Undue Pressure” on Counties “The Dominion delivery schedule will follow the quantities
as defined in Attachment O. Phase 2 – Part 1, but will be able to deliver ahead of schedule if
permitted by the GASOS. Completion of Phase 2 – Part 2 will be scheduled for completion by
December 31, 2019, if not earlier. This will allow us to remain ahead of the schedule described in
the RFP thus avoiding undue pressure on the State or the Counties as we prepare in January to
conduct training across the State.” (Dominion Response Document 12-1, page 5)

Dominion Stated “Distribution of all Voting System Products to the Respective Counties” Would
be Completed by December 31st. “Monthly Receipt of Products for Presidential Preference
Primary Election: August to December 31, 2019: Acceptance Testing of Voting System, Software
and Poll Pads by GASOS; Hash Validation Testing; Prepare the equipment and auxiliary items for
delivery to counties immediately following the November Election; Establish an agreed to roll out
plan combining Phase 2 Part 1 and Part 2; Distribution of all voting system products to the
respective counties; In House Depot Repair as needed.” (Dominion Supplemental Technical
Response, Question #4)

Dominion’s Goal Was To Have Machines Delivered By December 2019. “ By delivering and
accepting the EMS software and equipment including central scanning equipment in August, we
will then focus on the high-volume Acceptance Testing for the BMD’s beginning in October, or
late September if the GASOS staff schedules permit. The plan accelerates in November once the
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General Election is finalized and the decommissioning program kicks off. The pace will continue
right up until the end of the year with the goal to have all counties delivered by the end of
December 2019. If for any reason there are schedule delays, we will have sufficient inventory of
voting system and poll book products in the warehouse Acceptance Tested to ensure every
county has system components from which to train.” (Dominion Response Document,
Supplemental Technical Response, page 42-43)

Dominion “Committed” to Completing Delivery of Machines to Counties Prior to “Mid-January”
to Ensure System is in Place and Training Completed for PPP Election in March “Dominion is
committed to delivery ahead of the schedule (completion in mid-January 2020) posted to insure
a full statewide system is in place and all training completed in time to use the new system in the
PPP election in March. Our planning and focus are based on that premise.” (Dominion Response
Document 12-5)

Dominion Machines Will Be Delivered by End of 2019 and “No Later” than 1/15/2020 So That
Adequate Time Remains for Installation and Training “The Dominion plan is to deliver fully by
the end of 2019 or no later than January 15, 2020 so the State, the counties, and the poll
workers all have adequate time to install, train and establish the support model for the statewide
election in March.” (Dominion Response Document 12-6, page 1)

SOS Office Said "All Counties Should Have All Equipment by January 15th At the Latest."
“Question: Is there a “final” date when we can expect to have all our equipment and he said tech
would be available middle of February, but we start mailing ballots on Feb. 4, Doesn’t L&A have
to be done at least on some of the equipment before mailing ballots? Answer: All counties
should have all equipment by January 15th at the latest. We will be working with Dominion to
provide technicians for the PPP which will begin at the end of January.” (Transcript: Q&A From
Region Calls on October 10, 2019)

Raffensperger Says Voting Machines Will Be Delivered to Counties by “Mid-January” “A federal
judge ordered a pilot of hand-marked paper ballots as part of a larger lawsuit challenging the use
of electronic voting machines. Judge Amy Totenberg said the state must stop using its current
outdated direct-recording electronic machines after 2019. Hand-marked paper ballots would be
the system put in place if the BMDs are not ready in time. But Raffensperger says the rollout of
new machines are ahead of schedule and should be ready by mid-January.” (GBP, 11/06/2019)

SOS Office Says Machines Will Be Delivered by “End of January” “Gabe Sterling, the secretary of
state’s chief operating officer, said that the pilot results were what he hoped for – largely
successful while identifying areas that need attention before the statewide rollout. “Overall, we
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feel like we are in a good position to make sure that these kinds of issues don't happen,” chief
operating officer Gabe Sterling said to reporters Thursday. “When you have an election with
millions of people voting at one time, things are going to happen.” Sterling also said all of the
new equipment will be delivered to the state by the end of January and that the procurement
and testing process is running ahead of schedule.”(GPB, 11/15/2019)

Raffensperger Said Machines Will Be Delivered “No Later than Mid-January” “Georgia Secretary
of State Brad Raffensperger said the state has ordered 33,100 machines for the first year of the
new system — that’s one machine for every 224 registered voters. “We’ve purchased enough so
that every county’s got enough,” Harvey said. The equipment is to be delivered to the counties
“no later than mid-January,” Raffensperger said. Chatham County currently has two of the new
machines, Elections Supervisor Russell Bridges said. More are on the way, but they are waiting
for the state.” (Savannahnow.com, 1/04/2020)

SOS Office Says Machines Will Be Delivered by “Late January “Sterling said he’s confident that
the state’s voting system will be ready for the presidential primary, and all equipment is
scheduled for delivery by late January.“We feel like we are in a good position to make sure that
these kinds of issues don’t happen,” Sterling said. “Now we’re going to have the ability to deal
with them and shine a light on those problems.” (AJC, 11/18/2019)

Raffensperger Says Machines Will Be Delivered by “Early February” Raffensperger and his staff
say they’re ahead of schedule getting new machines to local election officials. Six counties used
the new equipment for a test run during elections for mayors, city councils and school boards
last month. A few dozen more are scheduling deliveries. Gabriel Sterling, project manager for the
secretary of state’s office, said all 159 counties should have their voting machines by early
February — roughly a month before advance voting starts. (AP, 12/11/2019)

Raffensperger Says Machines Will be 100% Delivered “Before the End of the First Week in
February”. Georgia Secretary of State Brad Raffensperger described it as the largest delivery to-
date for the new voting system — and said he’s confident every community in Georgia will be
fully equipped and fully prepared for March’s presidential primary.“We’ll have every county at
100 percent capacity before the end of the first week in February,” Raffensperger said.” (AJC,
12/30/2019)

Raffensperger Says Machines Will Be Delivered by “February 8.” “Secretary of State Brad
Raffensperger said all 159 counties will have their new machines by February 8. A little more
than three weeks later, early voting will begin for the March 24 presidential primary in Georgia.
Raffensperger said it'll be enough time for local officials to use them effectively. "Everyone has
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gone through two cycles of training and now the county election officials are working with
training all their staff also training their poll workers," Raffensperger said Monday.” ( 11alive.com
, 12/30/2019) **Note** in video interview Raffensperger says “February 1st” not February 8th”

As of December 30th, 2019, only 32 of 159 had Received “Nearly All” of their New Voting
Machines & Accessories. “While the holiday season has made coordinating deliveries to local
officials tricky, Raffensperger said that more than 25,000 of the 33,100 BMDs are tested and in
the state’s control and 32 of Georgia’s 159 counties have received nearly all of their new voting
machines and accessories.” (GPBNews.org, 12/30/2019)

Only 34% of Machines Are Expected to Be Delivered In the First Few Weeks of 2020. “Cobb
County (2,039 machines) is waiting on final pieces of equipment, DeKalb County (2,839) is
currently being delivered and in the next few weeks Fulton (3,058) and Gwinnett counties
(2,257) will receive most of their equipment. “So, that represents 34% of all the voting
equipment for the entire state of Georgia,” Raffensperger said.” (GPBNews.org, 12/30/2019)

WTVM Said Voting Machines Will Be Delivered By March 1st: “Demonstrations like today are
very important for citizens to understand what they are looking at when they go to the polling
site and how much time it will take to vote,” said Boren. The machines will be rolled out state-
wide March 1.” See video (wtvm.com, 1/05/2020) **Note, this is probably a mistake by the new
network or the SOS office as it does not align with other dates given at the same time**

SOS Attorney, Gabe Sterling, Told Counties Machines Would be Delivered By Mid-February and
EMS Delivered by February 1st. “Mobile ballot printers – Chris recommends PPP ballots from
printer with time crunch; Gabe Sterling: -1/2 counties are picked up or scheduled to pick up -
Intent: everything done by mid-February -EMS – by February 1st” (Jennifer Doran, Morgan Co.
Elections Supervisor Notes, 1/10/2020)1

Pilot program
During November Municipal Elections, GASOS Deployed 415 Fewer BMDs Than Originally Scheduled
Across the final 6 Pilot Counties. According to the pilot county executive summary, the SOS deployed 576
BMDs and 83 Scanners. Although they try and paint this as a success, the RFP said 991 BMDs & 84
Scanners were supposed to be deployed for these counties. It is concerning that bmd/scanner ratio for
pilots is so skewed...could suggest manufacturing issues. (SOS Executive Summary of Pilot)

SOS Lists 12 Pilot Counties to Receive Equipment in Initial RFP. Bacon, Bartow, Carroll, Catoosa,
Charlton, Decatur, Evans, Fulton, Gwinnett, Lowndes, Paulding, Treutlen. (Dominion “Full RFP”,
Page 82-87)
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Dominion Lists 12 Pilot Counties To Receive Equipment in Phase 1: Bacon, Bartow, Carroll,
Catoosa, Charlton, Decatur, Evans, Fulton, Gwinnett, Lowndes, Paulding, Treutlen. Please see
Dominion Response Document 12-3 PM, page 10 for chart of Implementation Timeline.
(Dominion Response Document 12-3)

Dominion Said Training & Installation for 12 Pilot Counties Would Begin in August. “The training
and installation of the new system for the 12 pilot counties will begin in August on dates
agreeable to the counties selected for the November pilot. GASOS staff will receive initial
training as the counties and poll workers are trained. The training curriculum and suggested
time frames are provided in detail in the appropriate sections of the Dominion clarification
responses.” (Dominion Response Document 12-4)

April 2019, SOS Told Federal Court Approved Vendor Must Be Able to Initiate 10 County Pilot By
August 2019. “In an April 11, 2019 filing with the Court, the State Defendants further
represented that “potential vendors must be able to initiate a ten-county pilot by August 2019.”
(Curling v Raffensperger, page 144)
